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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                       SOUTHERN DISTRICT OF NEW YORK

 DIGGIN’ YOUR DOG, LLC,

                Plaintiff,                            Case No. 1:21-cv-8667-JPC-RWL
 v.

 THE PETLAB CO. and AMPLIFY LTD,

                Defendants.


       REQUEST FOR ENTRY OF DEFAULT PURSUANT TO FRCP 55(a) AS TO
                       DEFENDANT AMPLIFY LTD

       Plaintiff Diggin’ Your Dog, LLC, requests that the Clerk of Court enter Default against

Defendant Amplify Ltd., pursuant to Federal Rule of Civil Procedure 55(a). In support of this

request Plaintiff relies upon the record in this case and the affidavit submitted herein.

 Dated: January 7, 2022                   s/ Cameron S. Reuber
                                          Cameron S. Reuber (CR 7001)
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The motion is denied without prejudice for failure to comply with Local Rule
55.1. The motion should be refiled as a request for the Clerk of Court to issue a
Certificate of Default pursuant to Local Rule 55.1 and the instructions and model
for such a filing on the Southern District's website. Plaintiff is directed to consult
Federal Rule of Civil Procedure 55, Local Rules 55.1 and 55.2, and the Court's
Individual Rule 3(d) for the proper procedures in default judgment proceedings.

SO ORDERED.                   ______________________
Date: January 4, 2022            JOHN P. CRONAN
New York, New York            United States District Judge
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                               CERTIFICATE OF SERVICE

       It is hereby certified that on January 7, 2022, a true and correct copy of the following

documents was served via ECF to all counsel of record:

       (i)     PLAINTIFF’S REQUEST FOR ENTRY OF DEFAULT PURSUANT TO
               FRCP 55(a) AS TO DEFENDANT AMPLIFY LTD;

       (ii)    DECLARATION OF CAMERON S. REUBER IN SUPPORT OF ENTRY
               OF DEFAULT; and

       (iii)   PROPOSED FORM FOR CLERK’S ENTRY OF DEFAULT.


                                           /s/ Cameron S. Reuber




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